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                                 #:1401


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8                        IN THE UNITED STATES DISTRICT COURT
9                  FOR THE CENTRAL DISTRICT OF CALIFORNIA
10   B&L PRODUCTIONS, INC., d/b/a            CASE NO.: 8:22-cv-01518 JWH (JDEx)
     CROSSROADS OF THE WEST;
11   GERALD CLARK; ERIC JOHNSON;             [PROPOSED] ORDER GRANTING
     CHAD LITTRELL; JAN STEVEN               PLAINTIFFS’ MOTION FOR
12   MERSON; CALIFORNIA RIFLE &              PRELIMINARY INJUNCTION
     PISTOAL ASSOCIATION,
13   INCORPORATED; ASIAN PACIFIC
     AMERICAN GUN OWNERS
14   ASSOCIATION; SECOND
     AMENDMENT LAW CENTER,
15   INC.; and SECOND AMENDMENT
     FOUNDATION,
16
                             Plaintiffs,
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                    v.
18   GAVIN NEWSOM, in his official
19   capacity as Governor of the State of
     California; ROB BONTA, in his
     official capacity as Attorney General
20   of the State of California; KAREN
     ROSS, in her official capacity as
21   Secretary of California Department of
     Food & Agriculture and in his
22   personal capacity; TODD SPITZER,
     in his official capacity as District
23   Attorney of Orange County; 32nd
     DISTRICT AGRICULTURAL
24   ASSOCIATION; DOES 1-10;
25                           Defendants.
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27          The motion of Plaintiffs B&L Productions, Inc., Gerald Clark, Eric Johnson,
28   Chad Littrell, Jan Steven Merson, California Rifle & Pistol Association,

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                                    [PROPOSED] ORDER
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1    Incorporated, Asian Pacific American Gun Owner Association, Second
2    Amendment Law Center, Inc., and Second Amendment Foundation (collectively,
3    “Plaintiffs”) came on regularly for hearing on January 6, 2023. Anna M. Barvir
4    appeared on behalf of Plaintiffs. Nicole J. Kau appeared on behalf of the Attorney
5    General. On proof made to the satisfaction of the court, and good cause appearing:
6             IT IS ORDERED that during the pendency of this action, the named
7    Defendants, their employees, agents, successors in office, and all District Attorneys,
8    County Counsel, and City Attorneys holding office in the state of California, as
9    well as their successors in office, are enjoined and restrained from engaging in,
10   committing, or performing, directly or indirectly, by any means whatsoever, any
11   enforcement of California Penal Code sections 27573 or 27575.
12            IT IS FURTHER ORDERED that, upon request by Plaintiff B&L
13   Productions, Inc., d/b/a Crossroads of the West (“Crossroads”), Defendant 32nd
14   District Agricultural Association must make available the next available date for a
15   gun show and allow Crossroads to reserve dates for gun show events (and to hold
16   such events) at the Fairgrounds as the District would any other event promoters
17   who have previously held events at the Fairgrounds.
18            This preliminary injunction will remain in effect until further order of the
19   Court.
20            IT IS SO ORDERED.
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     Dated: ____________________                     _______________________________
22
                                                     Honorable John W. Holcomb
23                                                   United States District Court Judge
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                                      [PROPOSED] ORDER
